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 8                        UNITED STATES DISTRICT COURT

 9             CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

10

11   LISA B.,                              CASE NO. EDCV 20-139-AS

12                    Plaintiff,

13        v.                                       JUDGMENT
14   ANDREW M. SAUL, Commissioner
     of Social Security,
15
                      Defendant.
16

17

18         IT IS ADJUDGED that this action is DISMISSED with prejudice.
19

20       DATED:    January 25, 2021
21
                                                         /s/      _________
22                                                    ALKA SAGAR
                                             UNITED STATES MAGISTRATE JUDGE
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